     Case: 3:19-cv-00602-wmc Document #: 422 Filed: 09/21/22 Page 1 of 7




                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF WISCONSIN


BAD RIVER BAND OF THE LAKE
SUPERIOR TRIBE OF CHIPPEWA
INDIANS OF THE BAD RIVER
RESERVATION,

                  Plaintiff,

v.

ENBRIDGE ENERGY COMPANY, INC.,
and ENBRIDGE ENERGY, L.P.,                   Case No. 3:19-cv-00602-wmc

                  Defendants.                Judge William M. Conley
                                             Magistrate Judge Stephen L. Crocker

ENBRIDGE ENERGY COMPANY, INC.,
and ENBRIDGE ENERGY, L.P.,

                  Counter-Plaintiffs,

v.

BAD RIVER BAND OF THE LAKE
SUPERIOR TRIBE OF CHIPPEWA
INDIANS OF THE BAD RIVER
RESERVATION and NAOMI TILLISON,
in her official capacity,

                  Counter-Defendants.



PLAINTIFF BAD RIVER BAND OF THE LAKE SUPERIOR TRIBE OF CHIPPEWA
           INDIANS’ PROPOSED FORM OF SPECIAL VERDICT
      Case: 3:19-cv-00602-wmc Document #: 422 Filed: 09/21/22 Page 2 of 7




       Pursuant to the Court’s Opinion and Order of September 16, 2022, at 4 (Dkt. 369),

Plaintiff Bad River Band of the Lake Superior Tribe of Chippewa Indians of the Bad River

Reservation (“Band”) respectfully requests that the Court use the following proposed special

verdict form.




                                               1
     Case: 3:19-cv-00602-wmc Document #: 422 Filed: 09/21/22 Page 3 of 7




                                   SPECIAL VERDICT


SPECIAL VERDICT PART I: MEASURE OF PROFITS-BASED RELIEF FOR PAST
UNJUST ENRICHMENT AND CONSCIOUS TRESPASS

  1. What is the proper amount of profits-based relief for Enbridge’s unjust enrichment and
     conscious trespass to date?

     $_________________



SPECIAL VERDICT PART II: MEASURE OF PROFITS-BASED RELIEF FOR ANY
FUTURE PIPELINE OPERATION

  1. What is the proper amount of profits-based relief for any future period of time during
     which Enbridge continues to operate Line 5 on the Reservation?

     $_________________



SPECIAL VERDICT PART III: PUBLIC NUISANCE LIABILITY

  1. Would a rupture of Line 5 in the vicinity of the Bad River Meander constitute an
     unreasonable interference with the public rights, health, safety or welfare of the Band?

     ____________ Yes               ____________ No

  2. Given the probability and magnitude of the potential harm, is the risk of a rupture of Line
     5 at the Bad River Meander more than a reasonable person would incur, such that
     equitable relief is necessary?

     ____________ Yes               ____________ No

  3. Is Enbridge’s continued operation of the pipeline at the Bad River Meander the cause of
     any “unreasonable interference with the public rights, health, safety or welfare of the
     Band” arising out of the operation of the pipeline at that location?

     ____________ Yes               ____________ No




                                              2
   Case: 3:19-cv-00602-wmc Document #: 422 Filed: 09/21/22 Page 4 of 7




4. Would Enbridge’s proposed remediation projects at the Meander require entry upon and
   alteration to Reservation lands and waters with respect to which it has no valid easement
   or other property rights?

   ____________ Yes              ____________ No

5. Can Enbridge defeat nuisance liability by proposing to engage in remediation projects at
   the Meander that would require entry upon and alteration to Reservation lands and waters
   with respect to which it has no valid easement or other property rights?

   ____________ Yes              ____________ No

6. Has Enbridge obtained for its proposed remediation projects at the Meander all water
   quality certifications, permits, and other environmental approvals from the Band, the U.S.
   Army Corps of Engineers, and other entities as required under federal and Band law?

   ____________ Yes              ____________ No

7. Can Enbridge defeat nuisance liability by proposing to engage in remediation projects for
   which it has not obtained water quality certifications, permits, and other environmental
   approvals from the Band, the U.S. Army Corps of Engineers, and other entities as
   required under federal and Band law?

   ____________ Yes              ____________ No

8. Do Enbridge’s proposed remediation projects at the Meander pose a threat of adverse
   environmental consequences to Reservation resources?

   ____________ Yes              ____________ No

9. Do Enbridge’s proposed remediation projects at the Meander have a non-trivial risk of
   project failure?

   ____________ Yes              ____________ No

10. Can Enbridge defeat nuisance liability by proposing to engage in remediation projects
    that pose a threat of adverse environmental consequences to Reservation resources and/or
    that have a non-trivial risk of project failure?

   ____________ Yes              ____________ No




                                            3
     Case: 3:19-cv-00602-wmc Document #: 422 Filed: 09/21/22 Page 5 of 7




SPECIAL VERDICT PART IV: ENTITLEMENT TO INJUNCTIVE RELIEF FOR
PUBLIC NUISANCE

  1. Is an injunction necessary to prevent irreparable harm to the Band?

     ____________ Yes              ____________ No

  2. Are the remedies available at law adequate to compensate for such harm?

     ____________ Yes              ____________ No

  3. Does the balance of hardships from granting or denying injunctive relief weigh in favor
     of the Band?

     ____________ Yes              ____________ No

  4. Would an injunction serve the public interest?

     ____________ Yes              ____________ No

  5. Do the above four factors weigh in favor of an injunction?

     ____________ Yes              ____________ No



SPECIAL VERDICT PART V: FORM OF INJUNCTIVE RELIEF

  1. Is Enbridge entitled to an injunction allowing continued operation of Line 5 on the
     Reservation for an indefinite period of time absent compliance with the tribal and federal
     consent requirements set forth in the Non-Intercourse Act, 25 U.S.C. § 177, the 1948
     Right of Way Act, 25 U.S.C. §§ 323–28, and the 1854 Treaty with the Chippewa, 10 Stat.
     1109?

     ____________ Yes              ____________ No

  2. Given the probability and magnitude of the potential harm from a rupture of Line 5 on the
     Reservation, would the public interest be served by an injunction that allows for the
     continued operation of Line 5 on the Reservation indefinitely?

     ____________ Yes              ____________ No




                                              4
   Case: 3:19-cv-00602-wmc Document #: 422 Filed: 09/21/22 Page 6 of 7




3. Should the Court issue an injunction allowing for continued operation of Line 5 on the
   Reservation for a longer time period than what is necessary to allow Enbridge and other
   market actors to develop alternatives to Line 5 sufficient to protect the public interest?

   ____________ Yes               ____________ No

4. Does the public interest require permitting Enbridge to remain on the Reservation for an
   indefinite period of five years or more?

   ____________ Yes               ____________ No

5. For what time period does the public interest require permitting Enbridge to continue to
   operate Line 5 on the Reservation?

   __________________




                                             5
     Case: 3:19-cv-00602-wmc Document #: 422 Filed: 09/21/22 Page 7 of 7




Dated: September 21, 2022                   Respectfully submitted,

                                            /s/ Riyaz A. Kanji
Erick Arnold                                Riyaz A. Kanji
BAD RIVER BAND OF THE LAKE SUPERIOR         David A. Giampetroni
TRIBE OF CHIPPEWA INDIANS OF THE BAD        Lucy W. Braun
RIVER RESERVATION                           KANJI & KATZEN, P.L.L.C.
72682 Maple Street                          303 Detroit Street, Suite 400
Odanah, Wisconsin 54861                     Ann Arbor, MI 48104
attorney@badriver-nsn.gov                   rkanji@kanjikatzen.com
(715) 682-7107                              dgiampetroni@kanjikatzen.com
                                            lbraun@kanjikatzen.com
Bruce Wallace                               Ph: (734) 769-5400
HOOPER HATHAWAY PRICE BEUCHE
& WALLACE                                   Jane G. Steadman
126 S. Main Street                          Philip H. Tinker
Ann Arbor, MI 48104                         Claire R. Newman
bwallace@hooperhathaway.com                 KANJI & KATZEN, P.L.L.C.
(734) 662-4426                              811 1st Avenue, Suite 630
                                            Seattle, WA 98104
Oday Salim                                  jsteadman@kanjikatzen.com
NATIONAL WILDLIFE FEDERATION                ptinker@kanjikatzen.com
213 West Liberty Street, Suite 200          cnewman@kanjikatzen.com
Ann Arbor, MI 48104                         Ph: (206) 344-8100
salimo@nwf.org
Ph: (586) 255-8857


               Counsel for the Bad River Band of the Lake Superior
              Tribe of Chippewa Indians and Naomi Tillison, Director
               of the Mashkiiziibii Natural Resources Department of
                    the Bad River Band, in her official capacity




                                            6
